                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


            DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
              AUTHORIZING THE EMPLOYMENT AND COMPENSATION OF
          PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS,

              Remington Outdoor Company, Inc. and its affiliated debtors, as debtors and debtors-in-

 possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

 11 Cases”), hereby file this motion (the “Motion”) seeking entry of interim and final orders,

 pursuant to sections 105(a), 327 of title 11 of the United States Code, 11 U.S.C. § 101, et seq. (the

 “Bankruptcy Code”) and rule 2014 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), substantially in the forms attached hereto as Exhibit A and Exhibit B, (i)

 authorizing the Debtors to retain and compensate certain professionals utilized in the ordinary

 course of the Debtors’ businesses, in accordance with the procedures set forth herein, and (ii)

 granting certain related relief, as described more fully herein. In support of this Motion, the

 Debtors respectfully state as follows:




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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.

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                                                  Jurisdiction

           1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Court may

 enter a final order consistent with Article III of the United States Constitution.

           2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 Background

           3.     On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

 businesses as debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the

 Bankruptcy Code. No party has requested the appointment of a trustee or examiner and no

 committee has been appointed or designated in these Chapter 11 Cases. The Debtors’ request for

 joint administration of these Chapter 11 Cases for procedural purposes only is currently pending.

           4.     The Debtors are one of America’s oldest and largest manufacturers of firearms,

 ammunition and related products for commercial, military and law enforcement customers

 throughout the world. The Debtors employ approximately 2,100 full-time employees and operate

 seven manufacturing facilities located across the United States. The Debtors’ headquarters is

 located in Huntsville, Alabama.

           5.     Additional information regarding the Debtors’ businesses, assets, capital structure,

 and the circumstances leading to the filing of these Chapter 11 Cases is set forth in the Declaration

 of Ken D’Arcy in Support of Chapter 11 Petitions and First Day Pleadings of Remington Outdoor

 Company, Inc. and its Affiliated Debtors and Debtors in Possession (the “First Day

 Declaration”), filed contemporaneously herewith and incorporated by reference herein.2



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  Capitalized terms used by not otherwise defined herein shall have the meanings ascribed to them in the First Day
 Declaration.
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                            The Debtors’ Ordinary Course Professionals

           6.    The Debtors, in the day-to-day operation of their businesses, regularly call upon

 certain professionals, including attorneys and other professionals (collectively, the “OCPs”), to

 assist them in carrying out their responsibilities. The OCPs provide services to the Debtors in a

 variety of matters unrelated to these Chapter 11 Cases, including regulatory, consulting and

 financial services, and legal services with regard to specialized areas of law. The OCPs expected

 to be utilized by the Debtors during the pendency of these Chapter 11 Cases are identified on

 Exhibit C to this Motion.

           7.    For example, as of the Petition Date, the Debtors were defending a number of

 lawsuits, claims, investigations and proceedings, including without limitation product liability,

 commercial, environmental, and employment matters that arise in the ordinary course of business,

 for which the Debtors are represented by certain law firms specializing in the areas of law

 implicated by those matters. In addition, the Debtors use a number of consultants to assist with

 certain tax, audit and valuation matters in the ordinary course of the Debtors’ business.

           8.    The Debtors submit that the continued employment and compensation of the OCPs

 is in the best interests of their estates, creditors and other parties in interest. It is critical that the

 Debtors be able to engage the OCPs in an effort to defend potential claims against their estates and

 preserve the value for stakeholders. Further, although the Debtors anticipate that the OCPs will

 wish to continue to represent and advise the Debtors during these Chapter 11 Cases, they would

 not be in a position to do so if the Debtors were not permitted to pay them on a regular basis.

 Without the background knowledge, expertise and familiarity that the OCPs have relative to the

 Debtors and their operations, the Debtors would undoubtedly incur additional and unnecessary

 expenses in educating and retaining replacement professionals. Accordingly, the Debtors’ estates




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 and their creditors are best served by avoiding any disruption in the professional services that are

 required for the day-to-day management of the Debtors’ businesses.

           9.    In light of the significant costs associated with the preparation of employment

 applications for professionals who will receive relatively modest fees, the Debtors submit that it

 would be impractical, inefficient and extremely costly for the Debtors and their legal advisors to

 prepare and submit individual applications and proposed retention orders for each OCP.

 Moreover, a requirement that the OCPs each file retention pleadings and follow the usual fee

 application process required of other bankruptcy professionals would burden the Clerk’s office,

 the Court and the Bankruptcy Administrator for the Northern District of Alabama (the

 “Bankruptcy Administrator”) with unnecessary fee applications.             This Motion proposes

 procedures to alleviate such a burden.

 B.        Proposed Procedures

           10.   The Debtors anticipate employing the OCPs to perform ongoing services during the

 pendency of these Chapter 11 Cases. The Debtors propose that the following procedures shall

 govern the retention and payment of the OCPs (the “OCP Procedures”):

                 (a)    To ensure that none of the OCPs represents or holds any interest adverse to
                        the Debtors or their estates with respect to the matter on which such
                        professional is employed, each OCP shall be required to file a declaration
                        (each, a “Declaration of Disinterestedness”) with the Court, substantially
                        in the form attached hereto as Exhibit D, stating that it does not hold an
                        interest materially adverse to the Debtors, and to serve its Declaration of
                        Disinterestedness on the following parties (the “Notice Parties”):

                        (i)       the Debtors, Remington Outdoor Company, Inc., 100 Electronics
                                  Boulevard SW, Huntsville, AL 35824;

                        (ii)      proposed counsel for the Debtors, (a) O’Melveny & Myers LLP, 400
                                  South Hope Street, Los Angeles, CA, 90071 (Attn: Stephen H.
                                  Warren and Karen Rinehart) and Burr & Forman LLP, 420 20th
                                  Street North, Suite 3400, Birmingham, AL 35203 (Attn: Derek F.
                                  Meek and Hanna Lahr);



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                     (iii)     the Office of the Bankruptcy Administrator for the Northern District
                               of Alabama, P.O. Box 3045, Decatur, AL 35602 (Attn: Richard
                               Blythe);

                     (iv)      counsel to Whitebox Advisors LLC, as Priority Term Loan Lender,
                               Brown Rudnick LLP, One Financial Center, Boston, MA 02111
                               (Attn: Andreas Andromalos, Esq. and Tia C. Wallach, Esq.), and
                               Balch & Bingham LLP, 1901 Sixth Avenue North, Suite 1500,
                               Birmingham, AL 35203 (Attn: Jeremy Retherford);

                     (v)       counsel to Cantor Fitzgerald Securities, as Priority Term Loan
                               Agent under the Debtors’ prepetition Priority Term Loan Credit
                               Agreement, Shipman & Goodwin LLP, One Constitution Plaza,
                               Hartford, CT 06103 (Attn: Kathleen M. LaManna, Esq. and Nathan
                               Plotkin, Esq.), and Balch & Bingham LLP, 1901 Sixth Avenue
                               North, Suite 1500, Birmingham, AL 35203 (Attn: Jeremy
                               Retherford);

                     (vi)      counsel to Ankura Trust Company, LLC as FILO Agent under the
                               Debtors’ prepetition FILO Term Loan Agreement and Exit Term
                               Loan Agent under the Exit Term Loan Agreement, Davis Polk &
                               Wardwell, 450 Lexington Avenue, New York, NY 10017 (Attn:
                               Donald Bernstein, Esq. and Joanna McDonald, Esq.), and Hand
                               Arendall Harrison Sale, 1810 5th Avenue North, Suite 400,
                               Birmingham, AL 35203 (Attn: Benjamin S. Goldman, Esq.);

                     (vii)     counsel to Franklin Advisors, Inc., as FILO Lender, Pillsbury
                               Winthrop Shaw Pittman LLP, Four Embarcadero Center, 22nd
                               Floor, San Francisco, CA 94111-5998 (Attn: Joshua Morse, Esq.
                               and Andrew Alfano, Esq.), and Christian & Small LLP, 505 North
                               20th Street, Suite 1800, Birmingham, AL 35203 (Attn: Daniel
                               Sparks, Esq. and Bill Bensinger, Esq.); and

                     (viii) counsel to the Committee.

               (b)   All parties in interest shall have ten (10) days after the filing and service of
                     a Declaration of Disinterestedness to object to the retention of the OCP
                     filing such declaration (the “Objection Deadline”). Any objecting party
                     shall serve its objection upon the Notice Parties and the relevant OCP on or
                     before the Objection Deadline. If an objection cannot be consensually
                     resolved within ten (10) days after the Objection Deadline, then the
                     retention of the OCP that is the subject of the objection shall be scheduled
                     for hearing by the Debtors at the next regularly scheduled omnibus hearing
                     date that is no less than fifteen (15) days from that date or on a date
                     otherwise agreed by the parties. The Debtors shall not be authorized to
                     retain and pay such OCP until all outstanding objections have been
                     withdrawn, resolved, or overruled by order of the Court.


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               (c)   If no objection is received by the Objection Deadline with respect to an
                     OCP, the Debtors shall be authorized to retain and pay that OCP in
                     accordance with these OCP Procedures.

               (d)   The Debtors are authorized to pay any retained OCP, without further
                     application to the Court, 100% of fees and disbursements upon submission
                     of an appropriate invoice setting forth in reasonable detail the nature of the
                     services rendered after the Petition Date and the fees and disbursements
                     related thereto; provided, however, that the total of all OCP’s (other than
                     audit and tax professionals) fees, excluding costs and disbursements, do not
                     exceed $290,000 per month while these Chapter 11 Cases are pending (the
                     “OCP Monthly Cap”); provided, further, that the total amount disbursed
                     per quarter for all OCP’s (other than audit and tax professionals) does not
                     exceed $870,000 (the “OCP Quarterly Cap”) (it being understood and
                     agreed that the first partial month shall not be included in the quarterly test);
                     and, for all OCP audit and tax professionals, the total of all professional
                     fees, excluding costs and disbursements, does not exceed $400,000 per
                     annum (the “OCP Audit/Tax Cap” and, together with the OCP Monthly
                     Cap and the OCP Quarterly Cap, collectively, the “OCP Caps”). The OCP
                     Caps may be increased by mutual agreement between the Debtors and the
                     Bankruptcy Administrator, provided that the Debtors shall file a notice with
                     the Court and submit notice to the Notice Parties of any such agreed
                     increase.

               (e)   To the extent that fees payable to the OCPs in the aggregate exceed the OCP
                     Quarterly Cap or OCP Audit/Tax Cap (as applicable), the Debtors shall
                     submit a Notice of Fees in Excess of the OCP Cap (the “Notice of Excess
                     Fees”) providing the total amount of fees and disbursements actually
                     incurred and the amount by which such fees and disbursements exceed the
                     applicable OCP Cap.

               (f)   The Notice of Excess Fees shall be served upon the Notice Parties. The
                     Notice Parties shall then have fifteen (15) days to object to the Notice of
                     Excess Fees. The Bankruptcy Administrator shall have the right to request
                     that any OCP whose fees and disbursements regularly and substantially
                     exceed the amounts allocated to such OCP under the OCP Quarterly Cap or
                     OCP Audit/Tax Cap (as applicable) be the subject of a retention application
                     pursuant to Bankruptcy Code section 327(a).

               (g)   If, after fifteen (15) days no objection is filed, the fees requested in the
                     Notice of Excess Fees shall be deemed approved, and the OCP may be paid
                     100% of its fees and 100% of its expenses without the need for further
                     action from such OCP.

               (h)   Beginning on the quarter ending September 30, 2020, and for each quarter
                     thereafter through the date of entry of an order confirming a plan of
                     reorganization, the Debtors shall file with the Court and serve on the Notice
                     Parties, no later than forty-five (45) days after the end of such quarter, or no

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                        later than forty-five (45) days after the date of entry of an order confirming
                        a plan of reorganization if such date is before the end of the quarter, a
                        statement (the “Quarterly Statement”) that shall include the following
                        information for each OCP: (a) the name of the OCP; (b) the aggregate
                        amounts paid as compensation for services rendered and reimbursement of
                        expenses incurred by that OCP during the reported quarter; (c) all
                        postpetition payments made to that OCP to date; and (d) a general
                        description of the services rendered by that OCP.

                 (j)    The Debtors may retain additional OCPs from time to time during these
                        Chapter 11 Cases by (a) including each additional OCP on an amended
                        version of Exhibit D to this Motion that shall be filed with the Court and
                        served on the Notice Parties and (b) having such additional OCP comply
                        with the OCP Procedures.

           11.   Although certain of the OCPs may hold minor amounts of unsecured claims against

 the Debtors in respect of prepetition services rendered, the Debtors do not believe that any of the

 OCPs have an interest materially adverse to the Debtors, their creditors, or any other parties in

 interest, and, thus, no OCP would be retained who does not meet, if applicable, the special counsel

 retention requirement of Bankruptcy Code section 327(e).

                                          Relief Requested

           12.   By this Motion, and pursuant to Bankruptcy Code section 105(a) and 327, and

 Bankruptcy Rule 2014, the Debtors seek authority, but not direction, to (a) retain the OCPs without

 requiring the submission of separate retention pleadings for each OCP and (b) pay the OCPs 100%

 of their postpetition fees and expenses, subject to the OCP Procedures.

                                           Basis for Relief

           13.   In determining whether an entity is a “professional” within the meaning of

 Bankruptcy Code section 327 and therefore must be retained by express approval of the court,

 courts generally consider whether such entity is involved in the actual reorganization effort, rather

 than a debtors’ ongoing business operations. See, e.g., Comm. of Asbestos-Related Litigants v.

 Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 619 (Bankr. S.D.N.Y. 1986)

 (“[T]he phrase ‘professional persons,’ as used in § 327(a), is a term of art reserved for those

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 persons who play an intimate role in the reorganization of a debtor’s estate.”); In re Drexel

 Burnham Lambert Grp. Inc., 112 B.R. 584, 587 (Bankr. S.D.N.Y. 1990) (same). Courts often

 consider the following factors in determining whether an entity is a “professional” within the

 meaning of Bankruptcy Code section 327:

                Whether the entity controls, manages, administers, invests, purchases, or sells
                 assets that are significant to the debtor’s reorganization;

                Whether the entity is involved in negotiating the terms of a plan of reorganization;

                Whether the entity is directly related to the type of work carried out by the debtor
                 or to the routine maintenance of the debtor’s business operations;

                Whether the entity is given discretion or autonomy to exercise his or her own
                 professional judgment in some part of the administration of the debtor’s estate;

                The extent of the entity’s involvement in the administration of the debtor’s estate;
                 and

                Whether the entity’s services involve some degree of special knowledge or skill,
                 such that it can be considered a “professional” within the ordinary meaning of the
                 term.

 See, e.g., In re First Merchs. Acceptance Corp., No. 97-1500, 1997 WL 873551, at *3 (D. Del.

 Dec. 15, 1997) (listing factors); In re Sieling Assocs. Ltd. P’ship, 128 B.R. 721, 723 (Bankr. E.D.

 Va. 1991) (authorizing the debtor to retain an environmental consultant in the ordinary course of

 business); In re Riker Indus., Inc., 122 B.R. 964, 973 (Bankr. N.D. Ohio 1990) (not requiring

 section 327 approval of the fees of a management and consulting firm that performed only “routine

 administrative functions” and whose “services were not central to [the] bankruptcy case”); In re

 Fretheim, 102 B.R. 298, 299 (Bankr. D. Conn. 1989) (holding that only those professionals

 involved in the actual reorganization effort, rather than debtor’s ongoing business, require approval

 under section 327).

           14.   The foregoing factors must be considered as a whole when determining whether an

 entity is a professional within the meaning of Bankruptcy Code section 327. None of the factors


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 alone is dispositive. Considering all of the factors, the Debtors do not believe that the OCPs are

 professionals requiring a full retention under section 327. The OCPs will not be involved in the

 administration of these Chapter 11 Cases. Instead, the OCPs will provide services in connection

 with the Debtors’ business operations. Nevertheless, to provide clarity and an opportunity for

 oversight, the Debtors seek the relief requested herein to establish a clear mechanism for retention

 and payment of the OCPs and thereby avoid any subsequent controversy with respect thereto.

           15.   The Debtors and their estates would be well served by continued retention of the

 OCPs because of their established relationship with the Debtors and understanding of the Debtors

 and their operations. Furthermore, in light of the significant costs associated with the preparation

 of retention applications for professionals who will receive relatively modest fees, the Debtors

 submit that it would be impractical, inefficient and extremely costly for the Debtors and their legal

 and other advisors to prepare and submit individual applications and proposed retention orders for

 each OCP. Therefore, the Debtors submit that it is in the best interests of all creditors and parties

 in interest to avoid any disruption in the professional services that are required for the day-to-day

 operation of the Debtors’ businesses by retaining and compensating the OCPs in accordance with

 the OCP Procedures.

                                       Reservation of Rights

           16.   Nothing contained herein is intended or should be construed as an admission as to

 the validity of any claim against the Debtors, a waiver of the Debtors’ right to dispute any claim,

 or an approval or assumption of any agreement, contract, or lease under section 365 of the

 Bankruptcy Code. The Debtors expressly reserve the right to contest any claim related to the relief

 sought herein. Likewise, if the Court grants the relief sought herein, any payment made pursuant

 to an order of the Court is not intended to be nor should it be construed as an admission as to the

 validity of any claim or a waiver of the Debtors’ right to subsequently dispute such claim.

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                                                Notice

           17.    Notice of the hearing on the relief requested in this Motion will be provided by the

 Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as

 applicable local bankruptcy rules, and is sufficient under the circumstances. The Debtors will

 provide notice of this Motion to the following parties-in-interest: (i) the Bankruptcy Administrator;

 (ii) the Debtors’ consolidated list of creditors holding the forty largest unsecured claims; (iii)

 counsel to Whitebox Advisors LLC, as Priority Term Loan Lender; (iv) counsel to Cantor

 Fitzgerald Securities, as Priority Term Loan Agent under the Debtors’ prepetition Priority Term

 Loan Credit Agreement; (v) counsel to Ankura Trust Company, as FILO Agent under the Debtors’

 prepetition FILO Term Loan Agreement, and as Exit Term Loan Agent under the Debtors’

 prepetition Exit Term Loan Agreement; (vii) counsel to Franklin Advisors, Inc., as FILO Lender;

 (viii) counsel to the United Mine Workers of America; and (ix) all parties entitled to notice

 pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested, the Debtors submit

 that no other or further notice is necessary under the circumstances.

                                          No Prior Request

           18.    The Debtors have not previously sought the relief requested herein from this or any

 other Court.

           WHEREFORE, the Debtors respectfully request entry of an interim order, substantially in

 the form attached hereto as Exhibit A, and a final order, substantially in the form attached hereto

 as Exhibit B, granting the relief requested herein and such further relief as the Court may deem

 appropriate and proper.

           Dated: July 28, 2020




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                                    Respectfully submitted,

                                    /s/ Derek F. Meek
                                    BURR & FORMAN LLP
                                    Derek F. Meek
                                    Hanna Lahr
                                    420 20th Street North, Suite 3400
                                    Birmingham, AL 35203
                                    Telephone:      (205) 251-3000
                                    Facsimile:      (205) 458-5100
                                    Email: dmeek@burr.com
                                            hlahr@burr.com

                                    - and -

                                    O’MELVENY & MYERS LLP
                                    Stephen H. Warren (pro hac vice admission pending)
                                    Karen Rinehart (pro hac vice admission pending)
                                    400 South Hope Street
                                    Los Angeles, CA 90071-2899
                                    Telephone:     (213) 430-6000
                                    Facsimile:     (213) 430-6407
                                    Email: swarren@omm.com
                                           krinehart@omm.com

                                    Proposed Attorneys for the Debtors and Debtors in
                                    Possession




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                                  EXHIBIT A

                         Proposed Form of Interim Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


     In re:                                                         Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                               Case No. 20-81688-11
     et al.,1
                                                                    Joint Administration Requested
                                   Debtors.


  INTERIM ORDER AUTHORIZING THE EMPLOYMENT AND COMPENSATION OF
     PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS,
                 EFFECTIVE AS OF THE PETITION DATE

              Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”), pursuant to sections 105(a), 327 of title 11 of

 the United States Code, 11 U.S.C. § 101, et seq., (the “Bankruptcy Code”), rule 2014 of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking entry of an order (this

 “Order”) (i) authorizing but not directing the Debtors to employ and compensate professionals

 utilized in the ordinary course of business (the “OCPs”) and (ii) granting certain related relied, all

 as more fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant

 to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core proceeding pursuant

 to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with Article III of

 the United States Constitution; and this Court having found that venue of these cases and the

 Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.


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 found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

 creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the

 Motion and opportunity for a hearing on the Motion were appropriate under the circumstances and

 no other notice need be provided; and this Court having reviewed the Motion and having heard the

 statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

 and this Court having determined that the legal and factual bases set forth in the Motion and at the

 Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

 before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

 ORDERED, ADJUDGED, AND DECREED THAT:

           1.   The Motion is GRANTED on an interim basis as set forth herein.

           2.   The Debtors are authorized but not directed on an interim basis to, in their sole

 discretion, retain and pay reasonable fees and expenses for the services of the OCPs in the ordinary

 course of their businesses.

           3.   Any payment made pursuant to this Order is not intended and should not be

 construed as an admission as to the validity or priority of any claim or a waiver of the Debtors’

 rights to subsequently dispute such claim, and any such payment is not intended and should not be

 construed as an assumption of any executory contract or obligation of the Debtors.

           4.   The final hearing (the “Final Hearing”) on the Motion shall be held on _____ 2020,

 at_: _.m. Central Time. Any objections or responses to the entry of a final order on the Motion

 shall be filed on or before 4:00 p.m. Central Time on ______, 2020, and served on the following

 parties: (a) proposed counsel for the Debtors, O’Melveny & Myers LLP, 400 South Hope Street,

 Los Angeles, CA, 90071 (Attn: Stephen H. Warren and Karen Rinehart) (Emails:

 swarren@omm.com; krinehart@omm.com) and Burr & Forman LLP, 420 20th Street North, Suite




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 3400, Birmingham, AL 35203 (Attn: Derek F. Meek and Hanna Lahr) (Emails: dmeek@burr.com;

 hlahr@burr.com); (b) the Office of the Bankruptcy Administrator for the Northern District of

 Alabama,       P.O.   Box    3045,   Decatur,   AL     35602   (Attn:   Richard   Blythe)    (Email:

 richard_blythe@alnba.uscourts.gov); (c) counsel to Whitebox Advisors LLC, as Priority Term

 Loan Lender, Brown Rudnick LLP, One Financial Center, Boston MA, 02111 (Attn: Andreas

 Andromalos, Esq. and Tia C. Wallach, Esq.) (Emails: aandromalos@brownrudnick.com;

 twallach@brownrudnick.com), and Balch & Bingham LLP, 1901 Sixth Avenue North, Suite 1500,

 Birmingham, AL 35203 (Attn: Jeremy Retherford, Esq.) (Email: jretherford@balch.com); (d)

 counsel to Cantor Fitzgerald Securities, as Priority Term Loan Agent under the Debtors’

 prepetition Priority Term Loan Credit Agreement, Shipman & Goodwin LLP, One Constitution

 Plaza, Hartford, CT 06103 (Attn: Kathleen LaManna and Nathan Plotkin) (Emails:

 klamanna@goodwin.com; nplotkin@goodwin.com), and Balch & Bingham LLP, 1901 Sixth

 Avenue North, Suite 1500, Birmingham, AL 35203 (Attn: Jeremy Retherford, Esq.) (Email:

 jretherford@balch.com); (e) counsel to Ankura Trust Company, as FILO Agent under the Debtors’

 prepetition FILO Term Loan Agreement, and as Exit Term Loan Agent under the Debtors’

 prepetition Exit Term Loan Agreement, Davis, Polk & Wardwell, 450 Lexington Avenue, New

 York,         NY   10017    (Attn:   Donald     Bernstein   and   Joanna    McDonald)       (Emails:

 donald.bernstein@davispolk.com; joanna.mcdonald@davispolk.com), and Hand Arendall

 Harrison Sale, 1810 5th Avenue North, Suite 400, Birmingham, AL 35203 (Attn: Benjamin S.

 Goodman) (Email: bgoldman@handfirm.com); (f) counsel to Franklin Advisors, Inc., as FILO

 Lender, Pillsbury Winthrop Shaw Pittman LLP, Four Embarcadero Center, 22nd Floor, San

 Francisco, CA 94111-5998 (Attn: Joshua Morse, Esq. and Andrew Alfano, Esq.) (Emails:

 joshua.morse@pillsburylaw.com; andrew.alfano@pillsburylaw.com), and Christian & Small




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 LLP, 505 North 20th Street, Suite 1800, Birmingham, AL 35203 (Attn: Daniel Sparks, Esq. and

 Bill Bensinger, Esq.) (Emails: ddsparks@csattorneys.com; bdbensinger@csattorneys.com); and

 (g) counsel to the Creditors’ Committee (if any). In the event no objections to the entry of a final

 order on the Motion are timely filed, this Court may enter a final order without need for a hearing

 thereon

           5.    Entry of this Interim Order is necessary to avoid immediate and irreparable harm.

 The requirements of Bankruptcy Rule 6003(b) have been satisfied.

           6.    Adequate notice of, and an opportunity for a Hearing on, the Motion have been

 provided. Such notice satisfies the requirements of Bankruptcy Rule 6004(a).

           7.    The Debtors shall serve a copy of this Interim Order upon all parties who were

 served with the Motion.

           8.    Notwithstanding any applicability of Bankruptcy Rules 6004(h), 7062, or 9014, the

 terms and conditions of this Interim Order are immediately effective and enforceable upon its

 entry.

           9.    The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Interim Order in accordance with the Motion.

           10.   This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation, interpretation, and enforcement of this Interim Order.


 Dated:                          , 2020



                                                UNITED STATES BANKRUPTCY JUDGE




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                                  EXHIBIT B

                          Proposed Form of Final Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


     In re:                                                         Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                               Case No. 20-81688-11
     et al.,1
                                                                    Joint Administration Requested
                                   Debtors.


      FINAL ORDER AUTHORIZING THE EMPLOYMENT AND COMPENSATION OF
         PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

              Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”), pursuant to sections 105(a), 327 of title 11 of

 the United States Code (the “Bankruptcy Code”), rule 2014 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), seeking entry of an order (this “Order”) (i) authorizing but

 not directing the Debtors to employ and compensate professionals utilized in the ordinary course

 of business (the “OCPs”) and (ii) granting certain related relied, all as more fully set forth in the

 Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

 and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and

 that this Court may enter a final order consistent with Article III of the United States Constitution;

 and this Court having found that venue of these cases and the Motion in this district is proper

 pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.


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 the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

 interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for a

 hearing on the Motion were appropriate under the circumstances and no other notice need be

 provided; and this Court having reviewed the Motion and having heard the statements in support

 of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

 determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

 cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

 due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED,

 ADJUDGED, AND DECREED THAT:

           1.   The Motion is granted as set forth herein.

           2.   The Debtors are authorized, in their sole discretion, to retain and pay reasonable

 fees and expenses for the services of the OCPs in the ordinary course of their businesses.

           3.   The following procedures shall govern the retention and payment of OCPs (the

 “OCP Procedures”):

                (a)     To ensure that none of the OCPs represents or holds any interest adverse to
                        the Debtors or their estates with respect to the matter on which such
                        professional is employed, each OCP shall be required to file a declaration
                        (each, a “Declaration of Disinterestedness”) with the Court, substantially
                        in the form attached as Exhibit C to the Motion, stating that it does not hold
                        an interest materially adverse to the Debtors, and to serve its Declaration of
                        Disinterestedness on the following parties (the “Notice Parties”):

                        (i)       the Debtors, Remington Outdoor Company, Inc., 100 Electronics
                                  Boulevard SW, Huntsville, AL 35824;

                        (ii)      proposed counsel for the Debtors, (a) O’Melveny & Myers LLP, 400
                                  South Hope Street, Los Angeles, CA, 90071 (Attn: Stephen H.
                                  Warren and Karen Rinehart) and Burr & Forman LLP, 420 20th
                                  Street North, Suite 3400, Birmingham, AL 35203 (Attn: Derek F.
                                  Meek and Hanna Lahr);




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                     (iii)     the Office of the Bankruptcy Administrator for the Northern District
                               of Alabama, P.O. Box 3045, Decatur, AL 35602 (Attn: Richard
                               Blythe);

                     (iv)      counsel to Whitebox Advisors LLC, as Priority Term Loan Lender,
                               Brown Rudnick LLP, One Financial Center, Boston, MA 02111
                               (Attn: Andreas Andromalos, Esq. and Tia C. Wallach, Esq.), and
                               Balch & Bingham LLP, 1901 Sixth Avenue North, Suite 1500,
                               Birmingham, AL 35203 (Attn: Jeremy Retherford);

                     (v)       counsel to Cantor Fitzgerald Securities, as Priority Term Loan
                               Agent under the Debtors’ prepetition Priority Term Loan Credit
                               Agreement, Shipman & Goodwin LLP, One Constitution Plaza,
                               Hartford, CT 06103 (Attn: Kathleen M. LaManna, Esq. and Nathan
                               Plotkin, Esq.), and Balch & Bingham LLP, 1901 Sixth Avenue
                               North, Suite 1500, Birmingham, AL 35203 (Attn: Jeremy
                               Retherford);

                     (vi)      counsel to Ankura Trust Company, LLC as FILO Agent under the
                               Debtors’ prepetition FILO Term Loan Agreement and Exit Term
                               Loan Agent under the Exit Term Loan Agreement, Davis Polk &
                               Wardwell, 450 Lexington Avenue, New York, NY 10017 (Attn:
                               Donald Bernstein, Esq. and Joanna McDonald, Esq.), and Hand
                               Arendall Harrison Sale, 1810 5th Avenue North, Suite 400,
                               Birmingham, AL 35203 (Attn: Benjamin S. Goldman, Esq.);

                     (vii)     counsel to Franklin Advisors, Inc., as FILO Lender, Pillsbury
                               Winthrop Shaw Pittman LLP, Four Embarcadero Center, 22nd
                               Floor, San Francisco, CA 94111-5998 (Attn: Joshua Morse, Esq.
                               and Andrew Alfano, Esq.), and Christian & Small LLP, 505 North
                               20th Street, Suite 1800, Birmingham, AL 35203 (Attn: Daniel
                               Sparks, Esq. and Bill Bensinger, Esq.); and

                     (viii) counsel to the Committee.

               (b)   All parties in interest shall have ten (10) days after the filing and service of
                     a Declaration of Disinterestedness to object to the retention of the OCP
                     filing such declaration (the “Objection Deadline”). Any objecting party
                     shall serve its objection upon the Notice Parties and the relevant OCP on or
                     before the Objection Deadline. If an objection cannot be consensually
                     resolved within ten (10) days after the Objection Deadline, then the
                     retention of the OCP that is the subject of the objection shall be scheduled
                     for hearing by the Debtors at the next regularly scheduled omnibus hearing
                     date that is no less than fifteen (15) days from that date or on a date
                     otherwise agreed by the parties. The Debtors shall not be authorized to
                     retain and pay such OCP until all outstanding objections have been
                     withdrawn, resolved, or overruled by order of the Court.


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               (c)   If no objection is received by the Objection Deadline with respect to an
                     OCP, the Debtors shall be authorized to retain and pay that OCP in
                     accordance with these OCP Procedures.

               (d)   The Debtors are authorized to pay any retained OCP, without further
                     application to the Court, 100% of fees and disbursements upon submission
                     of an appropriate invoice setting forth in reasonable detail the nature of the
                     services rendered after the Petition Date and the fees and disbursements
                     related thereto; provided, however, that the total of all OCP’s (other than
                     audit and tax professionals) fees, excluding costs and disbursements, do not
                     exceed $290,000 per month while these Chapter 11 Cases are pending (the
                     “OCP Monthly Cap”); provided, further, that the total amount disbursed
                     per quarter for all OCP’s (other than audit and tax professionals) does not
                     exceed $870,000 (the “OCP Quarterly Cap”) (it being understood and
                     agreed that the first partial month shall not be included in the quarterly test);
                     and, for all OCP audit and tax professionals, the total of all professional
                     fees, excluding costs and disbursements, does not exceed $400,000 per
                     annum (the “OCP Audit/Tax Cap” and, together with the OCP Monthly
                     Cap and the OCP Quarterly Cap, collectively, the “OCP Caps”). The OCP
                     Caps may be increased by mutual agreement between the Debtors and the
                     Bankruptcy Administrator, provided that the Debtors shall file a notice with
                     the Court and submit notice to the Notice Parties of any such agreed
                     increase.

               (e)   To the extent that fees payable to the OCPs in the aggregate exceed the OCP
                     Quarterly Cap or OCP Audit/Tax Cap (as applicable), the Debtors shall
                     submit a Notice of Fees in Excess of the OCP Cap (the “Notice of Excess
                     Fees”) providing the total amount of fees and disbursements actually
                     incurred and the amount by which such fees and disbursements exceed the
                     applicable OCP Cap.

               (f)   The Notice of Excess Fees shall be served upon the Notice Parties. The
                     Notice Parties shall then have fifteen (15) days to object to the Notice of
                     Excess Fees. The Bankruptcy Administrator shall have the right to request
                     that any OCP whose fees and disbursements regularly and substantially
                     exceed the amounts allocated to such OCP under the OCP Quarterly Cap or
                     OCP Audit/Tax Cap (as applicable) be the subject of a retention application
                     pursuant to Bankruptcy Code section 327(a).

               (g)   If, after fifteen (15) days no objection is filed, the fees requested in the
                     Notice of Excess Fees shall be deemed approved, and the OCP may be paid
                     100% of its fees and 100% of its expenses without the need for further
                     action from such OCP.

               (h)   Beginning on the quarter ending September 30, 2020, and for each quarter
                     thereafter through the date of entry of an order confirming a plan of
                     reorganization, the Debtors shall file with the Court and serve on the Notice


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                       Parties, no later than forty-five (45) days after the end of such quarter, or no
                       later than forty-five (45) days after the date of entry of an order confirming
                       a plan of reorganization if such date is before the end of the quarter, a
                       statement (the “Quarterly Statement”) that shall include the following
                       information for each OCP: (a) the name of the OCP; (b) the aggregate
                       amounts paid as compensation for services rendered and reimbursement of
                       expenses incurred by that OCP during the reported quarter; (c) all
                       postpetition payments made to that OCP to date; and (d) a general
                       description of the services rendered by that OCP.

                (j)    The Debtors may retain additional OCPs from time to time during these
                       Chapter 11 Cases by (a) including each additional OCP on an amended
                       version of Exhibit C to the Motion that shall be filed with the Court and
                       served on the Notice Parties and (b) having such additional OCP comply
                       with the OCP Procedures.

           4.   Any payment made pursuant to this Order is not intended and should not be

 construed as an admission as to the validity or priority of any claim or a waiver of the Debtors’

 rights to subsequently dispute such claim, and any such payment is not intended and should not be

 construed as an assumption of any executory contract or obligation of the Debtors.

           5.   Notwithstanding the possible applicability of Bankruptcy Rules 7062, 9014, or

 otherwise, this Order shall be immediately effective and enforceable upon its entry.

           6.   The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.

           7.   The Court retains jurisdiction with respect to all matters arising from or related to

 the interpretation or implementation of this Order.


 Date:                 , 2020


                                              UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT C

                       List of Ordinary Course Professionals




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Remington Outdoor Company, Inc.
Schedule of Ordinary Course Professionals
Monthly / Recurring Ordinary Course Professionals
                  Provider Name                                                    Vendor Address                                        Service(s) Provided
ANGEION GROUP LLC                                    1801 MARKET STREET, SUITE 660, PHILADELPHIA, PA 19103            Product Liability Support Firm
BAKER BOTTS                                          910 LOUISIANA STREET, HOUSTON, TX 77002                          Special Counsel (International Sales)
BLACKBURN & STOLL LLC                                257 EAST 200 SOUTH, SUITE 800, SALT LAKE CITY, UT 84111          Personal Injury Counsel
DAY PITNEY LLP                                       1 JEFFERSON ROAD, PARSIPPANY, NJ 07054-2833                      Product Liability Counsel
ERNST & YOUNG, LLP                                   190 CARONDELET PLAZA, SUITE 1300, CLAYTON, MO 63105              Tax (Excise Tax)
FRIDAY, ELDREDGE & CLARK                             400 W CAPITOL, LITTLE ROCK, AR 72201                             Product Liability Counsel
JACKSON LEWIS, LLP                                   75 PARK PLAZA, BOSTON, MA 02116                                  Union and Employee Matters
MAYNARD COOPER & GALE PC                             1901 6TH AVENUE NORTH, SUITE 2400, BIRMINGHAM, AL 35203-2602     State Incentives Counsel
NELSON MULLINS RILEY & SCARBOROUGH                   1320 MAIN STREET, 17TH FLOOR, COLUMBIA, SC 29201                 eDiscovery Services
ORCHID ADVISORS LLC                                  40 WEST HILLS DRIVE, AVON, CT 6001                               Compliance Counsel
PROFILE ADVISORS LLC                                 405 LEXINGTON AVE, SUITE 915, NEW YORK, NY 10174                 Public Relations
REED SMITH LLP                                       225 FIFTH AVENUE, PITTSBURGH, PA 15222                           Insurance Counsel
SHOOK, HARDY & BACON, LLP                            2555 GRAND BOULEVARD, KANSAS CITY, MO 64108                      Product Liability Counsel
SWANSON MARTIN & BELL                                330 NORTH WABASH AVE - STE 3300, CHICAGO, IL 60611               Product Liability Counsel
WILMER & LEE P A                                     100 WASHINGTON STREET, SUITE 100, HUNTSVILLE, AL 35801           Workers Comp. and Employee Matters Counsel
WOMBLE BOND DICKSON                                  ONE WELLS FARGO CENTER, SUITE 3500, CHARLOTE, NC 28202           Special Counsel (Patents, trademarks, benefits, etc.)

Other Product Liability Related Counsel
BINGHAM GREENEBAUM DOLL LLP                          10 WEST MARKET STREET, INDIANAPOLIS, IN 46204                    Product Liability Counsel
BUTLER, SNOW, O'MARA, STEVENS                        1020 HIGHLAND COLONY PKWY., SUITE 1400, RIDGELAND, MS 39157      Product Liability Counsel
DICKINSON WRIGHT PLLC                                2600 WEST BIG BEAVER RD, SUITE 300, TROY, MI 48084               Product Liability Counsel
CLAYTON UTZ                                          1 BLIGHT STREET, SYDNEY, NEW SOUTH WALES                         Product Liability Counsel
CORETTE BLACK CARLSON & MICKELSON                    129 WEST PARK STREET, SUITE 301, BUTTE, MT 59701                 Product Liability Counsel
GRAY REED & MCGRAW LLP                               1300 POST OAK BOULEVARD #2000, HOUSTON, TX 77056                 Product Liability Counsel
HUNTER MACLEAN EXLEY & DUNN PC                       200 EAST ST JULIAN STREET, SAVANNAH, GA 31401                    Product Liability Counsel
IRWIN FRITCHIE URQUHART & MOORE LLC                  400 POYDRAS STREET, SUITE 2700, NEW ORLEANS, LA 70130            Product Liability Counsel
LIGHTFOOT,FRANKLIN, & WHITE LLC                      400 20TH STREET NORTH, BIRMINGHAM, AL 35203-3200                 Product Liability Counsel
MCGINNIS LOCHRIDGE AND KILGORE LLP                   600 CONGRESS AVE, SUITE 2100, AUSTIN, TX 78701                   Product Liability Counsel
OHNSTAD TWICHELL PC                                  444 SHEYENNE STREET, SUITE 102, WEST FARGO, ND 58078             Product Liability Counsel
PORTER WRIGHT MORRIS & ARTHUR LLP                    41 SOUTH HIGH STREET, COLUMBUS, OH 43215                         Product Liability Counsel
POST & SCHELL PC                                     1600 JOHN F KENNEDY BOULEVARD, PHILADELPHIA, PA 19103            Product Liability Counsel
REMINGER CO LPA                                      200 CIVIC CENTER DRIVE, SUITE 800, COLUMBUS, OH 43215            Product Liability Counsel
RODEY LAW FIRM                                       201 THIRD STREET NW, SUITE 2200, ALBUQUERQUE, NM 87103-1888      Product Liability Counsel
SNOW CHRISTENSEN & MARTINEAU                         10 EXCHANGE PLACE, 11TH FLOOR, SALT LAKE CITY, UT 84111          Product Liability Counsel
SPOTTS FAIN PC                                       411 E FRANKLIN STREET, SUITE 600, RICHMOND, VA 23219             Product Liability Counsel
THE LAW OFFICE OF ROBERT H ALEXANDER JR., PC         100 NORTH BROADWAY, P.O. BOX 868, OKLAHOMA CITY, OK 73101-0868   Product Liability Counsel
WYATT, TARRANT & COMBS, LLP                          500 WEST JEFFERSON STREET, SUITE 2800, LOUISVILLE, KY 40202      Product Liability Counsel
YOKA & SMITH LLP                                     445 SOUTH FIGUEROA ST - 38TH FL, LOS ANGELES, CA 90071           Product Liability Counsel

Audit and Tax Professional Services Required from Petition Date to Plan Effective Date
                   Provider Name                                                       Vendor Address                                   Service(s) Provided
DELOITTE TAX LLP                                     2200 ROSS AVE #1600, DALLAS, TX 75201                            Tax (Federal/State Returns)
GRANT THORNTON LLP                                   PO BOX 532019, ATLANTA, GA 30353-2019                            Auditor
KPMG, LLC                                            2323 ROSS AVE #1400, DALLAS, TX 75201                            Accounting and Valuation Services




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                                   EXHIBIT D

                       Form Declaration of Disinterestedness




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                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


                DECLARATION OF DISINTERESTEDNESS OF [      ]
        IN SUPPORT OF RETENTION AS AN ORDINARY COURSE PROFESSIONAL

              I,               , being duly sworn, state the following under penalty of perjury:

              1.   I am a [position] of                       (the “Firm”), which has a place of business

 at                                                                               .

              2.   The above-captioned debtors and debtors in possession (the “Debtors”) have

 requested that the Firm provide                                                      services to the Debtors, and

 the Firm has consented to provide such services.

              3.   The Firm may have performed services in the past, may currently perform services,

 and may perform services in the future in matters unrelated to the above-captioned chapter 11

 cases (the “Chapter 11 Cases”) for persons that are parties in interest in the Chapter 11 Cases.

 The Firm does not perform services for any such person in connection with these Chapter 11 Cases

 or have any relationship with any such person, their attorneys or accountants that would be adverse

 to the Debtors or their estates, except as follows:


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.


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           4.     As part of its customary practice, the Firm is retained in cases, proceedings, and

 transactions involving many different parties, some of whom may represent or be retained by the

 Debtors, claimants and parties in interest in these Chapter 11 Cases.

           5.     Neither I nor any principal, partner, director, or officer of or professional retained

 by the Firm has agreed to share or will share any portion of the compensation to be received from

 the Debtors with any other person other than the principal and regular employees of the Firm.

           6.     Neither I nor any principal, partner, director, or officer of, or professional retained

 by the Firm, insofar as I have been able to ascertain, holds or represents any interest adverse to the

 Debtors or their estates with respect to the matter(s) upon which this Firm is to be retained, except

 as follows:                                                                            .

           7.     The Debtors owe the Firm $[                ] for prepetition services, the payment of

 which is subject to limitations contained in the Bankruptcy Code. The Firm understands that its

 designation as an ordinary course professional does not entitle the Firm to payment for services

 provided during the prepetition period outside of a confirmed plan of reorganization.

           8.     The Firm is conducting further inquiries regarding its retention by any creditors of

 the Debtors, and upon conclusion of that inquiry, or at any time during the period of its retention,

 if the Firm should discover any facts bearing on the matters described herein, the Firm will

 supplement the information contained in this Declaration.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing .is true

 and correct to the best of my knowledge and belief. Executed on [                  ], 2020.



                                                 [Name]
                                                 [Position, Firm]



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